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Case:22-11941-MER Doc#:23 Filed:06/14/22   Entered:06/14/22 14:41:49 Page3 of 27
Case:22-11941-MER Doc#:23 Filed:06/14/22   Entered:06/14/22 14:41:49 Page4 of 27
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